        Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26            Desc
                                      Main Document        Page 1 of 67
                                     Office of the United States Trustee


    In re: ICPW Liquidation Corporation, a             Post-Confirmation
           California corporation, et al.              Quarterly Operating Report

    Lead Case No.: 1:17-bk-12408-MB
    Jointly administered with: 1:17-bk-12409-MB        Quarter Ending:       03/31/2021

    Chapter 11


    Attorney/Professional - Name, Address,           Person responsible for report - Name, Address,
    Phone & FAX:                                     Phone & FAX:

    Samuel R. Maizel                                 Matthew Pliskin
    Tania M. Moyron                                  3902 Henderson Blvd.
    DENTONS US LLP                                   Suite 208-336
    601 South Figueroa Street, Suite 2500            Tampa, FL 33629
    Los Angeles, California 90017-5704               Telephone: (917) 543-2568
    Telephone: (213) 623-9300
    Facsimile: (213) 623-9924


    Date Order was entered confirming plan:          February 13, 2018

    Disbursing Agent (if any) (Please print):        KCC LLC


   SUMMARY OF DISBURSEMENTS MADE DURING THE QUARTER

   Disbursements made under the plan                    $3,568.84

   Other Disbursements                                $165,618.20

                              Total Disbursements     $169,187.04


   Projected date of final decree
                                                      Third Quarter 2021.
   What needs to be achieved before a final decree   Final distribution and motion for final decree.
   will be sought? (Attach a separate sheet if
   necessary)




Revised
)       December 2001        POST-CONFIRMATION STATUS REPORT (Page 1 of 2)                             USTLA-7
        Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26 Desc
                                        Main Document    Page 2 of 67
   Narrative of events which impact upon the        None. Since the last reporting period, the
   ability to perform under the reorganization plan arbitration with BDO has been delayed due to
   or other significant events that have occurred   COVID-19.
   during the reporting period (Attach a separate
   sheet if necessary)

   Date last U.S. Trustee fee paid                       January 22, 2021

   Amount Paid                                           $2,275.00


I declare under penalty of perjury that the information contained in the document is true, complete and
correct.



  Date: 5/6/2021                                          Signature of person responsible for this report


This report is to be filed with the U.S. Trustee quarterly until a final decree is entered. This report is for U.S.
Trustee purposes only. You may be required to file additional reports with the Bankruptcy Court.




Revised
)       December 2001        POST-CONFIRMATION STATUS REPORT (Page 2 of 2)                                    USTLA-7
    Case 1:17-bk-12408-MB             Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                    Desc
                                       Main Document    Page 3 of 67
                               UNITED STATES BANKRUPTCY COURT
                           ________________ DISTRICT OF ________________

IN RE:     ICPW Liquidation                                           }          CASE NUMBER:
           Corporation, a California                                  }          Lead Case No.: 1:17-bk-12408-MB
           corporation, et al.                                        }          Jointly administered with: 1:17-bk-12409-MB
                                                                      }          JUDGE: Martin Barash
                                                                      }
           DEBTOR.                                                    }          CHAPTER 11




                                              DEBTOR'S POST-CONFIRMATION
                                              QUARTERLY OPERATING REPORT
                                                          FOR THE PERIOD
                        FROM                  January 1, 2021       TO March 31, 2021


  Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



  Dated:
                                                                                             Attorney for Debtor




           Debtor's Address                                                                  Attorney's Address
           and Phone Number:                                                                 and Phone Number:
           ___________________________                                                       ___________________________
           See Cover page                                                                    See Cover page
           ___________________________                                                       ___________________________
                                                                                             Bar No. _____________________
           Tel. ________________________                                                     Tel. ________________________


Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Operating Reports must be filed by the last day of the month following the reporting period.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http://www.justice.gov/ust/r20/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)
      Case 1:17-bk-12408-MB                                Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                               Desc
                                                            Main Document    Page 4 of 67
MONTHLY OPERATING REPORT -                                                                                                                        ATTACHMENT NO. 1
POST CONFIRMATION




                                                             QUESTIONNAIRE
                                                                                                                                     YES*       NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
       the Plan of Reorganization during this reporting period?                                                                             x
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                            x
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                            x
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                 x


               *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

       The Debtor is current on all post-confirmation plan payments



                                                     INSURANCE INFORMATION
                                                                                                                                     YES        NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                                     x
2.     Are all premium payments current?
                                                                                                                        x
               *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

                                     No physical operation or location to insure, E&O Coverage is maintiained as stated below.



                                                                      CONFIRMATION OF INSURANCE
                                                                                                                                     Payment Amount   Delinquency
                       TYPE of POLICY           and             CARRIER                                Period of Coverage             and Frequency    Amount
Professional Liability Full Program - Underwriters at Lloyd's, London                               5/23/19-20                       8576.16 Annual        0




                         DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: ____________________
     Case 1:17-bk-12408-MB                Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                              Desc
                                           Main Document    Page 5 of 67
MONTHLY OPERATING REPORT -                                                                                    ATTACHMENT NO. 2
POST CONFIRMATION


                                     CHAPTER 11 POST-CONFIRMATION
                                 SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:                    ICPW Liquidation Corporation, a California corporation, et al.

Case Number:                  Lead Case No. 1:17-bk-12408-MB

Date of Plan Confirmation:    2/13/2018

                      :\\ YdU]c ]ecd RU Q^cgUbUT, :^i gXYSX T_ ^_d Q``\i cX_e\T RU Q^cgUbUT k^_^Ul _b kF-:l,


                                                                                       Quarterly         Post Confirmation Total
1.   CASH (Beginning of Period)                                             $             2,830,300.88 $            15,367,377.27


2.   INCOME or RECEIPTS during the Period                                   $                    1,346.74 $          4,606,760.06
                NOTE : $34,217.78 of the PCT receipts were payments from BBI customers to be remitted to BBI
3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                                 $                    2,275.00 $            172,683.54
          (ii)  Federal Taxes                                                                                          100,000.00
          (iii) State Taxes                                                                                             41,597.38
          (iv) Other Taxes                                                                                                   0.00

     b.   All Other Operating Expenses:                                     $                  165,618.20 $          4,870,726.23
                Note: Includes $0 and $1,121,995.90 remitted to BBI
     c.   Plan Payments:
          (i)   Administrative Claims                                       $                        0.00 $          1,282,400.39
          (ii)  Class One*                                                                           0.00               55,516.47
          (iii) Class Two                                                                            0.00                    0.00
          (iv) Class Three                                                                           0.00                    0.00
          (v)   Class Four                                                                           0.00                    0.00
          (vi) Trust Beneficiaries                                                               1,293.84           10,788,752.74
                (Attach additional pages as needed)
                * Note: Re-issuance of payments already scheduled

     Total Disbursements (Operating & Plan)                                 $                  169,187.04 $         17,311,676.75

1.   CASH (End of Period)                                                   $              2,662,460.58 $            2,662,460.58
      Case 1:17-bk-12408-MB                                Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                                    Desc
                                                            Main Document    Page 6 of 67
MONTHLY OPERATING REPORT -                                                                                                                                                     ATTACHMENT NO. 3
POST CONFIRMATION



                                                                       CHAPTER 11 POST-CONFIRMATION
                                                                       BANK ACCOUNT RECONCILIATIONS
                                                                     Prepare Reconcilation for each Month of the Quarter

Bank Account Information                            Account        Account       Account                       Account              Account             Account             Account              Account
                                                       #1             #2           #3                            #4                   #5                  #6                  #7                   #8
Name of Bank:                                   Signature Bank Signature Bank TD Bank                       TD Bank              TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                      x0112               x0120                x4123             x3018                x9869               x9893                x4074               x4058
                                                                     Excess Cash                            Operating
Purpose of Account (Operating/Payroll/Tax)      Disbursment          Reserve              Disbursement      Reserve              Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                 Checking             Checking             Checking          Money Market         Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                                108,212.25          263,909.38             7,242.23      2,289,193.27            62,867.18          93,139.71             2,822.26            2,914.60
Deposits                                                                           0.00         32,275.00               481.69               13.35               19.78                 0.48                0.62
Withdrawals                                                -236.00                             -32,365.00        -32,275.00
1. Balance per Bank Statement                         107,976.25          263,909.38             7,152.23      2,257,399.96            62,880.53          93,159.49             2,822.74            2,915.22
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)          107,976.25          263,909.38             7,152.23      2,257,399.96            62,880.53          93,159.49             2,822.74            2,915.22


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information                      Current             Current              Current           Current              Current             Current              Current             Current
Bank / Account Name / Number                         Value               Value                Value             Value                Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
      Case 1:17-bk-12408-MB                                Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                                      Desc
                                                            Main Document    Page 7 of 67
MONTHLY OPERATING REPORT -                                                                                                                                                       ATTACHMENT NO. 3
POST CONFIRMATION



                                                                       CHAPTER 11 POST-CONFIRMATION
                                                                       BANK ACCOUNT RECONCILIATIONS
                                                                     Prepare Reconcilation for each Month of the Quarter

Bank Account Information                            Account        Account       Account                         Account              Account             Account             Account              Account
                                                       #1             #2           #3                              #4                   #5                  #6                  #7                   #8
Name of Bank:                                   Signature Bank Signature Bank TD Bank                         TD Bank              TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                      x0112               x0120                x4123               x3018                x9869               x9893                x4074               x4058
                                                                     Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)      Disbursment          Reserve              Disbursement        Reserve              Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                 Checking             Checking             Checking            Money Market         Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                                107,976.25          263,909.38             7,152.23        2,257,399.96            62,880.53          93,159.49             2,822.74            2,915.22
Deposits                                                                           0.00        135,468.20                 418.67               12.06               17.87                 0.43                0.56
Withdrawals                                                   0.00                            -135,498.20         -135,468.20
1. Balance per Bank Statement                         107,976.25          263,909.38             7,122.23        2,122,350.43            62,892.59          93,177.36             2,823.17            2,915.78
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)          107,976.25          263,909.38             7,122.23        2,122,350.43            62,892.59          93,177.36             2,823.17            2,915.78


                                                            0.00
Note: Attach copy of each bank statement and bank reconciliation.                  0.00                0.00                 0.00                0.00                0.00                 0.00                0.00


Investment Account Information                      Current             Current              Current             Current              Current             Current              Current             Current
Bank / Account Name / Number                         Value               Value                Value               Value                Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
      Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                                       Desc
                                                             Main Document    Page 8 of 67
MONTHLY OPERATING REPORT -                                                                                                                                                         ATTACHMENT NO. 3
POST CONFIRMATION



                                                                        CHAPTER 11 POST-CONFIRMATION
                                                                        BANK ACCOUNT RECONCILIATIONS
                                                                      Prepare Reconcilation for each Month of the Quarter

Bank Account Information                            Account        Account       Account                           Account              Account             Account             Account              Account
                                                       #1             #2           #3                                #4                   #5                  #6                  #7                   #8
Name of Bank:                                   Signature Bank Signature Bank TD Bank                           TD Bank              TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                      x0112                x0120                x4123                x3018                x9869               x9893                x4074               x4058
                                                                      Excess Cash                               Operating
Purpose of Account (Operating/Payroll/Tax)      Disbursment           Reserve              Disbursement         Reserve              Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                 Checking              Checking             Checking             Money Market         Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                                107,976.25           263,909.38             7,122.23         2,122,350.43            62,892.59          93,177.36             2,823.17            2,915.78
Deposits                                                                            0.00              700.00                360.50                8.01               11.87                 0.48                0.37
Withdrawals                                               -1,057.84                                    -30.00           -700.00
1. Balance per Bank Statement                         106,918.41           263,909.38             7,792.23         2,122,010.93            62,900.60          93,189.23             2,823.65            2,916.15
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks                            -285.29                                    -700.00
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)          106,633.12           263,909.38             7,092.23         2,122,010.93            62,900.60          93,189.23             2,823.65            2,916.15


                                                            0.00
Note: Attach copy of each bank statement and bank reconciliation.                   0.00                0.00                  0.00                0.00                0.00                 0.00                0.00

Investment Account Information                      Current              Current              Current              Current              Current             Current              Current             Current
Bank / Account Name / Number                         Value                Value                Value                Value                Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
   Case 1:17-bk-12408-MB              Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                          Desc
                                       Main Document    Page 9 of 67
MONTHLY OPERATING REPORT -                                                                          ATTACHMENT NO. 4
POST CONFIRMATION

                                      CHAPTER 11 POST-CONFIRMATION
                                 CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                  Signature Bank
Account Number                                                x0112
Purpose of Account (Operating/Payroll/Personal)               Escrow
Type of Account (e.g., Checking)                              Checking

  Check     Date of
 Number   Transaction                   Payee                              Purpose or Description              Amount
1978           1/4/2021 Hui-Ya-Hsu                         Trust Distribution                                     236.00
                        THE WILLIAM J. & SEEMAH W. IDELSON
1980           3/8/2021 FAMILY TRUST                       Trust Distribution                                    1,057.84


                                                                                                       TOTAL     1,293.84
   Case 1:17-bk-12408-MB                      Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                           Desc
                                              Main Document     Page 10 of 67
MONTHLY OPERATING REPORT -                                                                                         ATTACHMENT NO. 4
POST CONFIRMATION

                                            CHAPTER 11 POST-CONFIRMATION
                                Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                              Signature Bank
Account Number                                                            x0112
Purpose of Account (Operating/Payroll/Personal)                           Escrow
Type of Account (e.g., Checking)                                          Checking

  Check        Date of
 Number      Transaction                  Payee                                           Purpose or Description                        Amount
1976            10/30/2020 STUBBS ALDERTON & MARKILES LLP                 Trust Distribution                                                73.70
                           THE ELLEN IDELSON TRUST DATED
1977            10/30/2020 MARCH 20 2003                                  Trust Distribution                                               211.59


                                                                                                                          TOTAL            285.29

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
   Case 1:17-bk-12408-MB                  Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                     Desc
                                          Main Document     Page 11 of 67
MONTHLY OPERATING REPORT -                                                                         ATTACHMENT NO. 4
POST CONFIRMATION

                                          CHAPTER 11 POST-CONFIRMATION
                                     CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                TD Bank
Account Number                                              x4123
Purpose of Account (Operating/Payroll/Personal)             Operating
Type of Account (e.g., Checking)                            Checking

  Check     Date of
 Number   Transaction                       Payee                         Purpose or Description            Amount
Wire          1/13/2021   Ron Chez, Inc                     Trust Board Payment                              10,000.00
Wire          1/13/2021   Patrick O'Brien                   Trust Board Payment                              10,000.00
EFT           1/13/2021   TD Bank                           Bank Bee                                             30.00
EFT           1/13/2021   TD Bank                           Bank Bee                                             30.00
1165          1/22/2021   United States Trustee             United States Trustee                               325.00
1166          1/22/2021   United States Trustee             United States Trustee                             1,950.00
995136        1/26/2021   Scott Jarus                       Trust Board Payment                              10,000.00
EFT           1/29/2021   TD Bank                           Bank Bee                                             30.00
1169          2/18/2021   Matthew Pliskin                   Trust Administartion                              3,987.00
1167          2/18/2021   Matthew Pliskin                   Trust Administartion                              7,500.00
1168          2/18/2021   Matthew Pliskin                   Trust Administartion                             70,494.00
995138        2/22/2021   Kurtzman Carson Consultants LLC   Trust Administartion                                622.80
995139        2/23/2021   Solomon & Cramer LLP              Legal Fees                                       47,281.25
995137        2/24/2021   Dentons LLP                       Legal Fees                                        5,583.15
EFT           2/26/2021   TD Bank                           Bank Bee                                             30.00
EFT           3/31/2021   TD Bank                           Bank Bee                                             30.00


                                                                                                    TOTAL    167,893.20
   Case 1:17-bk-12408-MB                      Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                           Desc
                                              Main Document     Page 12 of 67
MONTHLY OPERATING REPORT -                                                                                         ATTACHMENT NO. 4
POST CONFIRMATION

                                            CHAPTER 11 POST-CONFIRMATION
                                Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                              TD Bank
Account Number                                                            x4123
Purpose of Account (Operating/Payroll/Personal)                           Operating
Type of Account (e.g., Checking)                                          Checking

  Check        Date of
 Number      Transaction                        Payee                                   Purpose or Description                          Amount
   995140        3/29/2021 Future Plan                                    Trust Administration                                             700.00


                                                                                                                          TOTAL            700.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
   Case 1:17-bk-12408-MB                  Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                   Desc
                                          Main Document     Page 13 of 67
MONTHLY OPERATING REPORT -                                                                       ATTACHMENT NO. 4
POST CONFIRMATION

                                         CHAPTER 11 POST-CONFIRMATION
                                    CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                             TD Bank
Account Number                                           x3018
Purpose of Account (Operating/Payroll/Personal)          Operating
Type of Account (e.g., Checking)                         Checking

  Check     Date of
 Number   Transaction                        Payee                      Purpose or Description              Amount
xfer          1/12/2021   Transfer to checking           Internal Transfer                                   30,000.00
xfer          1/15/2021   Transfer to checking           Internal Transfer                                    2,275.00
xfer          2/10/2021   Transfer to checking           Internal Transfer                                   53,487.20
xfer          2/16/2021   Transfer to checking           Internal Transfer                                   81,981.00
xfer          3/29/2021   Transfer to checking           Internal Transfer                                      700.00


                                                                                                    TOTAL   168,443.20
                Case 1:17-bk-12408-MB                                                 Doc 649 CHAPTER
                                                                                                Filed      05/06/21 Entered 05/06/21 20:59:26
                                                                                                      11 POST-CONFIRMATION
                                                                                                   INTEREST RECEIVED
                                                                                                                                                                                                                                                                         Desc
                                                                                      Main Document              Page 14 of 67
                 Account                        Account            Account   Account                 Account          Account          Account          Account           Account           Account         Account           Account          Account          Account
                    #1                            #4                 #5         #6                      #7               #8               #9              #10               #11               #12             #13               #14              #15              #16
Name of                                                                    Signature               Signature        Signature        Signature        Signature
Bank:         Capital One   FRB              Signature Bank Signature Bank Bank                    Bank             Bank             Bank             Bank             TD Bank            TD Bank         TD Bank           TD Bank          TD Bank          TD Bank
Account
Number:           x0575                          x0112              x0120             x0139          x7032            x7040            x7059            x7067              x4123             x3018           x9869             x9893           x4074             x4058
Purpose of
Account
(Operating/                                                     Excess Cash         Operating      Class 1          Tax              Class 3          Class 4                             Operating       Class 1                       Class 3               Class 4
Payroll/Tax) Disbursement                    Disbursment        Reserve             Reserve        Reserve          Reserve          Reserve          Reserve          Disbursement       Reserve         Reserve           Tax Reserve Reserve               Reserve
Type of
Account (e.g.                                                                                                                                                                             Money           Money             Money            Money            Money
checking)     Checking                       Checking           Checking            Checking       Checking         Checking         Checking         Checking         Checking           Market          Market            Market           Market           Market
Month
    3/31/2018                     2,947.30                                                                                                                                                                                                                                       2,947.30
    4/30/2018                     2,850.69
    5/31/2018                                                          2,182.60           687.23       2383.04            27.13            693.24           75.35
    6/30/2018                                                          1,250.70         2,065.92         345.66           81.42          2,080.99          226.19
                                  2,850.69                             3,433.30         2,753.15       2,728.70          108.55          2,774.23          301.54                                                                                                               14,950.16

    7/31/2018                      633.54                                   32.59       2,092.93         357.51           84.22          2,152.33          233.95
    8/31/2018                                                               26.88       1,929.20         357.85            84.3          2,154.34          234.17
    9/30/2018                                                               26.04       1,777.35         346.62           81.66          2,086.77          226.82
                                   633.54                                   85.51       5,799.48       1,061.98          250.18          6,393.44          694.94                                                                                                               14,919.07

   10/31/2018                                                               26.93       1,718.04        358.51            84.46          2,158.31          234.60
   11/30/2018                                                               26.19          52.55         11.57                              69.66                                              2,774.02         610.05             143.7          3672.77           399.19
   12/31/2018                                                               27.11                                                                                                              2,844.07         653.16            153.85           3932.3            427.4
                                                         0.00               80.23       1,770.59        370.08            84.46          2,227.97          234.60                  0.00        5,618.09       1,263.21            297.55         7,605.07           826.59      20,378.44

    1/31/2019                                                               27.13                                                                                                              2,965.37         715.47            168.53          4307.47            468.18
    2/28/2019                                                               24.53                                                                                                              2,575.69         651.25             153.4          3920.84            426.16
    3/31/2019                                                               27.18                                                                                                                2754.3         722.25            170.12          4348.26            472.61
                                                         0.00               78.84          0.00              0.00             0.00             0.00             0.00               0.00        8,295.36       2,088.97            492.05        12,576.57          1,366.95     24,898.74

    4/30/2019                                                               26.33                                                                                                              2,538.51         700.25            164.94          4215.85            458.22
    5/31/2019                                                               27.23                                                                                                              2,490.69         724.90            170.75          4364.26            474.35
    6/30/2019                                                               26.38                                                                                                              2,253.78         702.83            165.55          4231.37            459.91
                                                         0.00               79.94          0.00              0.00             0.00             0.00             0.00               0.00        7,282.98       2,127.98            501.24        12,811.48          1,392.48     24,196.10

    7/31/2019                                                             27.28                                                                                                                1,954.78         727.57            171.38          4380.32             476.1
    8/31/2019                                                          1,589.36                                                                                                                1,770.93         664.80            156.59          4002.42            435.02
    9/30/2019                                                            850.14                                                                                                                1,490.97         626.32            147.53          3770.75            409.84
                                                         0.00          2,466.78            0.00              0.00             0.00             0.00             0.00               0.00        5,216.68       2,018.69            475.50        12,153.49          1,320.96     23,652.10

   10/31/2019                                                              239.67                                                                                                              1,187.35         570.49            134.38          3434.62            373.31
   11/30/2019                                                              237.73                                                                                                                897.09         499.37            117.63          3006.44            326.77
   12/31/2019                                                              245.88                                                                                                                828.75         483.34            113.85          2909.93            316.28
                                                         0.00              723.28          0.00              0.00             0.00             0.00             0.00               0.00        2,913.19       1,553.20            365.86         9,350.99          1,016.36     15,922.88

    1/31/2020                                                              246.11                                                                                                                496.98         482.61            113.68          2811.82            315.8
    2/29/2020                                                              230.44                                                                                                                402.55         452.03            106.48             3.23           295.79
    3/31/2020                                                              119.27                                                                                                                 221.9         414.88             97.72             2.97           154.44
                                                         0.00              595.82          0.00              0.00             0.00             0.00             0.00               0.00        1,121.43       1,349.52            317.88         2,818.02           766.03       6,968.70

    4/30/2020                                                                                                                                                                                    55.26          129.28               30.45             0.46             0.95
    5/31/2020                                                                                                                                                                                    84.23           71.99               31.48             0.48             0.98
    6/30/2020                                                                                                                                                                                   117.42           20.57               30.47             0.46             0.95
                                                         0.00                0.00          0.00              0.00             0.00             0.00             0.00               0.00         256.91          221.84               92.40             1.40             2.88      575.43

    7/31/2020                                                                                                                                                                                    98.92              21.26             31.5             0.48             0.99
    8/31/2020                                                                                                                                                                                    84.66              21.27            31.51             0.48             0.99
    9/30/2020                                                                                                                                                                                    71.23              20.59             30.5             0.46             0.95
                                                         0.00                0.00          0.00              0.00             0.00             0.00             0.00               0.00         254.81              63.12            93.51             1.42             2.93      415.79

   10/31/2020                                                                                                                                                                                    36.53              21.28            31.53             0.48             0.99
   11/30/2020                                                                                                                                                                                   199.53              15.71            23.27             0.46             0.73
   12/31/2020                                                                                                                                                                                   495.14              13.31            19.72             0.48             0.62
                                                         0.00                0.00          0.00              0.00             0.00             0.00             0.00               0.00         731.20              50.30            74.52             1.42             2.34      859.78

    1/31/2021                                                                                                                                                                                    481.69             13.35            19.78             0.48             0.62
    2/28/2021                                                                                                                                                                                    418.67             12.06            17.87             0.43             0.56
    3/31/2021                                                                                                                                                                                     360.5              8.01            11.87             0.48             0.37
                                                         0.00                0.00          0.00              0.00             0.00             0.00             0.00               0.00        1,260.86             33.42            49.52             1.39             1.55     1,346.74
Case 1:17-bk-12408-MB   Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26   Desc
                        Main Document     Page 15 of 67




                        Bank Statements
     Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26          Desc
                                    Main Document     Page 16 of 67



                                                                                Statement Period
                                                                             From January   01, 2021
                                                                             To   January   31, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0112           1

              IMPORTANT MESSAGE ABOUT IDENTITY THEFT! SIGNATURE BANK WILL NEVER
              ASK YOU TO PROVIDE PERSONAL OR BUSINESS ACCOUNT INFORMATION THROUGH
              E-MAIL. IF YOU RECEIVE ANY E-MAIL OR OTHER INQUIRY THAT APPEARS TO COME
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              & SECURITY", "IDENTITY THEFT" FOR MORE INFORMATION ON SAFEGUARDING YOUR
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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   108,212.25                    107,976.25

                          RELATIONSHIP TOTAL                                                      107,976.25
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                  Main Document     Page 17 of 67



                                                                          Statement Period
                                                                       From January   01, 2021
                                                                       To   January   31, 2021
                                                                       Page     2 of     2

                                                                       PRIVATE CLIENT GROUP 161
                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017




             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0112           1


MONOGRAM CHECKING                    0112




Summary

 Previous Balance as of January   01, 2021                                                  108,212.25
        1 Debits                                                                                236.00
 Ending Balance as of   January   31, 2021                                                  107,976.25


Checks by Serial Number
 Jan 04       1978                236.00

Daily Balances
 Dec 31             108,212.25                      Jan 04      107,976.25

Rates for this statement period - Overdraft
Jan 01, 2021   13.000000 %
     Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26          Desc
                                    Main Document     Page 18 of 67



                                                                                Statement Period
                                                                             From February 01, 2021
                                                                             To   February 28, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0112           0

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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   107,976.25                    107,976.25

                          RELATIONSHIP TOTAL                                                      107,976.25
     Case 1:17-bk-12408-MB         Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                   Main Document     Page 19 of 67



                                                                           Statement Period
                                                                        From February 01, 2021
                                                                        To   February 28, 2021
                                                                        Page     2 of     2

                                                                        PRIVATE CLIENT GROUP 161
                                                                        565 FIFTH AVENUE
                                                                        NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                       See Back for Important Information


                                                               Primary Account:       0112           0


MONOGRAM CHECKING                     0112




Summary

 Previous Balance as of February   01, 2021                                                  107,976.25

 There was no deposit activity during this statement period

 Ending Balance as of   February   28, 2021                                                  107,976.25


Rates for this statement period - Overdraft
Feb 01, 2021   13.000000 %
     Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26          Desc
                                    Main Document     Page 20 of 67



                                                                                Statement Period
                                                                             From March     01, 2021
                                                                             To   March     31, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0112           1

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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   107,976.25                    106,918.41

                          RELATIONSHIP TOTAL                                                      106,918.41
     Case 1:17-bk-12408-MB         Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                   Main Document     Page 21 of 67



                                                                           Statement Period
                                                                        From March     01, 2021
                                                                        To   March     31, 2021
                                                                        Page     2 of     2

                                                                        PRIVATE CLIENT GROUP 161
                                                                        565 FIFTH AVENUE
                                                                        NEW YORK, NY 10017




             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                       See Back for Important Information


                                                               Primary Account:       0112           1


MONOGRAM CHECKING                     0112




Summary

 Previous Balance as of March      01, 2021                                                  107,976.25
        1 Debits                                                                               1,057.84
 Ending Balance as of   March      31, 2021                                                  106,918.41


Checks by Serial Number
 Mar 08       1980               1,057.84

Daily Balances
 Feb 28             107,976.25                      Mar 08       106,918.41

Rates for this statement period - Overdraft
Mar 01, 2021   13.000000 %
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26            Desc
                                  Main Document     Page 22 of 67



                                                                                Statement Period
                                                                             From January   01, 2021
                                                                             To   January   31, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0

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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,909.38                    263,909.38

                          RELATIONSHIP TOTAL                                                      263,909.38
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                  Main Document     Page 23 of 67



                                                                          Statement Period
                                                                       From January   01, 2021
                                                                       To   January   31, 2021
                                                                       Page     2 of     2

                                                                       PRIVATE CLIENT GROUP 161
                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0120            0


MONOGRAM INSURED MMA                 0120

 Interest Paid Previous Year                                                                     595.82

Summary

 Previous Balance as of January   01, 2021                                                  263,909.38

 There was no deposit activity during this statement period

 Ending Balance as of   January   31, 2021                                                  263,909.38
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26            Desc
                                  Main Document     Page 24 of 67



                                                                                Statement Period
                                                                             From February 01, 2021
                                                                             To   February 28, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0

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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,909.38                    263,909.38

                          RELATIONSHIP TOTAL                                                      263,909.38
     Case 1:17-bk-12408-MB         Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                   Main Document     Page 25 of 67



                                                                           Statement Period
                                                                        From February 01, 2021
                                                                        To   February 28, 2021
                                                                        Page     2 of     2

                                                                        PRIVATE CLIENT GROUP 161
                                                                        565 FIFTH AVENUE
                                                                        NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                       See Back for Important Information


                                                               Primary Account:       0120           0


MONOGRAM INSURED MMA                  0120

 Interest Paid Previous Year                                                                     595.82

Summary

 Previous Balance as of February   01, 2021                                                  263,909.38

 There was no deposit activity during this statement period

 Ending Balance as of   February   28, 2021                                                  263,909.38
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26            Desc
                                  Main Document     Page 26 of 67



                                                                                Statement Period
                                                                             From March     01, 2021
                                                                             To   March     31, 2021
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0

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Signature Relationship Summary                                    Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,909.38                    263,909.38

                          RELATIONSHIP TOTAL                                                      263,909.38
     Case 1:17-bk-12408-MB        Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26      Desc
                                  Main Document     Page 27 of 67



                                                                          Statement Period
                                                                       From March     01, 2021
                                                                       To   March     31, 2021
                                                                       Page     2 of     2

                                                                       PRIVATE CLIENT GROUP 161
                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0120            0


MONOGRAM INSURED MMA                 0120

 Interest Paid Previous Year                                                                     595.82

Summary

 Previous Balance as of March     01, 2021                                                  263,909.38

 There was no deposit activity during this statement period

 Ending Balance as of   March     31, 2021                                                  263,909.38
Case 1:17-bk-12408-MB             Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                 Desc
                                  Main Document     Page 28 of 67

                                                                  E          STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                                    Page:                                            1 of 4
   MATTHEW A PLISKIN TRUSTEE                                                 Statement Period:              Jan 01 2021-Jan 31 2021
   GENERAL AND DISBURSEMENTS                                                 Cust Ref #:                             4123-719-E-***
   3609 HENDERSON BLVD STE 208                                               Primary Account #:                                4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                                 Account #                   4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                      7,242.23                                       Average Collected Balance                           12,880.45
Electronic Deposits                   32,275.00                                       Interest Earned This Period                              0.00
                                                                                      Interest Paid Year-to-Date                               0.00
Checks Paid                            2,275.00                                       Annual Percentage Yield Earned                         0.00%
Electronic Payments                   10,000.00                                       Days in Period                                             31
Other Withdrawals                     20,060.00
Service Charges                           30.00
Ending Balance                         7,152.23



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
01/12            eTransfer Credit, Online Xfer                                                                                            30,000.00
                      Transfer from MMKT            3018
01/15            eTransfer Credit, Online Xfer                                                                                              2,275.00
                      Transfer from MMKT            3018

                                                                                                             Subtotal:                    32,275.00
Checks Paid      No. Checks: 2     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT
01/22           1165                          325.00
01/22           1166                       1,950.00
                                                                                                             Subtotal:                      2,275.00
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
01/26            TDBANK BILL PAY CHECK, SCOTT JARUS                                                                                       10,000.00
                      CHECK# 995136

                                                                                                             Subtotal:                    10,000.00
Other Withdrawals
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
01/13            WIRE     TRANSFER OUTGOING, Patrick O'brien                                                                              10,000.00
01/13            WIRE     TRANSFER OUTGOING, Trust Services                                                                               10,000.00
01/13            WIRE     TRANSFER FEE                                                                                                        30.00
01/13            WIRE     TRANSFER FEE                                                                                                        30.00
                                                                                                             Subtotal:                    20,060.00



Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 29 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 4

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           7,152.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB           Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                                Main Document     Page 30 of 67

                                                      STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                          Page:                                  3 of 4
                                                      Statement Period:    Jan 01 2021-Jan 31 2021
                                                      Cust Ref #:                   4123-719-E-***
                                                      Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE      DESCRIPTION                                                                     AMOUNT
01/29             MAINTENANCE FEE                                                                     30.00
                                                                           Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                              BALANCE                   DATE                                 BALANCE
12/31                             7,242.23                  01/22                               17,182.23
01/12                            37,242.23                  01/26                                7,182.23
01/13                            17,182.23                  01/29                                7,152.23
01/15                            19,457.23




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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        Case 1:17-bk-12408-MB       Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                                    Main Document     Page 31 of 67

                                                          STATEMENT OF ACCOUNT


          ICPW LIQUIDATION TRUST
          MATTHEW A PLISKIN TRUSTEE                       Page:                                  4 of 4
                                                          Statement Period:    Jan 01 2021-Jan 31 2021
                                                          Cust Ref #:                   4123-719-E-***
                                                          Primary Account #:                      4123




#1165       01/22         $325.00                #1166         01/22           $1,950.00
Case 1:17-bk-12408-MB             Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                 Desc
                                  Main Document     Page 32 of 67

                                                                  E          STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                                    Page:                                            1 of 4
   MATTHEW A PLISKIN TRUSTEE                                                 Statement Period:              Feb 01 2021-Feb 28 2021
   GENERAL AND DISBURSEMENTS                                                 Cust Ref #:                              4123-719-E-***
   3609 HENDERSON BLVD STE 208                                               Primary Account #:                                4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                                 Account #                   4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                     7,152.23                                        Average Collected Balance                           38,018.51
Electronic Deposits                 135,468.20                                        Interest Earned This Period                              0.00
                                                                                      Interest Paid Year-to-Date                               0.00
Checks Paid                           81,981.00                                       Annual Percentage Yield Earned                         0.00%
Electronic Payments                   53,487.20                                       Days in Period                                             28
Service Charges                           30.00
Ending Balance                         7,122.23




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                                                                   AMOUNT
02/10             eTransfer Credit, Online Xfer                                                                                           53,487.20
                      Transfer from MMKT            3018
02/16             eTransfer Credit, Online Xfer                                                                                           81,981.00
                      Transfer from MMKT            3018

                                                                                                             Subtotal:                  135,468.20
Checks Paid       No. Checks: 3    *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/18             1167                     7,500.00                                 02/18                     1169                          3,987.00
02/18             1168                  70,494.00
                                                                                                             Subtotal:                    81,981.00
Electronic Payments
POSTING DATE      DESCRIPTION                                                                                                                   AMOUNT
02/22             TDBANK BILL PAY CHECK,                                                                                                        622.80
                      KURTZMAN CARSON CONSULTANTS LLC
                      CHECK# 995138
02/23             TDBANK BILL PAY CHECK,                                                                                                  47,281.25
                      SOLOMON & CRAMER LLP
                      CHECK# 995139
02/24             TDBANK BILL PAY CHECK, DENTONS LLP                                                                                        5,583.15
                      CHECK# 995137

                                                                                                             Subtotal:                    53,487.20
Service Charges
POSTING DATE      DESCRIPTION                                                                                                                   AMOUNT
02/26             MAINTENANCE FEE                                                                                                                30.00
                                                                                                             Subtotal:                           30.00

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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 33 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 4

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           7,122.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
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                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB      Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                           Main Document     Page 34 of 67

                                                 STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                     Page:                                  3 of 4
                                                 Statement Period:    Feb 01 2021-Feb 28 2021
                                                 Cust Ref #:                    4123-719-E-***
                                                 Primary Account #:                      4123




DAILY BALANCE SUMMARY
DATE                             BALANCE               DATE                                 BALANCE
01/31                            7,152.23              02/22                               60,016.63
02/10                           60,639.43              02/23                               12,735.38
02/16                          142,620.43              02/24                                7,152.23
02/18                           60,639.43              02/26                                7,122.23




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        Case 1:17-bk-12408-MB     Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                                  Main Document     Page 35 of 67

                                                        STATEMENT OF ACCOUNT


          ICPW LIQUIDATION TRUST
          MATTHEW A PLISKIN TRUSTEE                     Page:                                  4 of 4
                                                        Statement Period:    Feb 01 2021-Feb 28 2021
                                                        Cust Ref #:                    4123-719-E-***
                                                        Primary Account #:                      4123




#1167       02/18         $7,500.00            #1168         02/18           $70,494.00




#1169       02/18         $3,987.00
Case 1:17-bk-12408-MB             Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26               Desc
                                  Main Document     Page 36 of 67

                                                        E   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                   Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                                Statement Period:    Mar 01 2021-Mar 31 2021
   GENERAL AND DISBURSEMENTS                                Cust Ref #:                    4123-719-E-***
   3609 HENDERSON BLVD STE 208                              Primary Account #:                      4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                   Account #            4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                     7,122.23                    Average Collected Balance            7,189.97
Electronic Deposits                     700.00                    Interest Earned This Period              0.00
                                                                  Interest Paid Year-to-Date               0.00
Service Charges                          30.00                    Annual Percentage Yield Earned         0.00%
Ending Balance                        7,792.23                    Days in Period                             31




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                           AMOUNT
03/29             eTransfer Credit, Online Xfer                                                             700.00
                      Transfer from MMKT         3018

                                                                                 Subtotal:                  700.00
Service Charges
POSTING DATE      DESCRIPTION                                                                           AMOUNT
03/31             MAINTENANCE FEE                                                                            30.00
                                                                                 Subtotal:                   30.00


DAILY BALANCE SUMMARY
DATE                                  BALANCE                     DATE                                 BALANCE
02/28                                 7,122.23                    03/31                                7,792.23
03/29                                 7,822.23




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 37 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           7,792.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB                Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                                     Main Document     Page 38 of 67

                                                     E     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                  Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                               Statement Period:    Jan 01 2021-Jan 31 2021
   OPERATING ACCOUNT                                       Cust Ref #:                   3018-701-E-***
   3609 HENDERSON BLVD STE 208                             Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                  Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                2,289,193.27                    Average Collected Balance      2,268,606.38
Other Credits                          481.69                    Interest Earned This Period          481.69
                                                                 Interest Paid Year-to-Date           481.69
Electronic Payments                 32,275.00                    Annual Percentage Yield Earned       0.25%
Ending Balance                   2,257,399.96                    Days in Period                           31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                            AMOUNT
01/29            INTEREST PAID                                                                             481.69
                                                                                Subtotal:                  481.69
Electronic Payments
POSTING DATE     DESCRIPTION                                                                            AMOUNT
01/12            eTransfer Debit, Online Xfer                                                         30,000.00
                    Transfer to CK        4123
01/15            eTransfer Debit, Online Xfer                                                          2,275.00
                    Transfer to CK        4123

                                                                                Subtotal:             32,275.00


DAILY BALANCE SUMMARY
DATE                                   BALANCE                   DATE                                  BALANCE
12/31                            2,289,193.27                    01/15                             2,256,918.27
01/12                            2,259,193.27                    01/29                             2,257,399.96




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 39 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,257,399.96
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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 Case 1:17-bk-12408-MB                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                         Desc
                                       Main Document     Page 40 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Feb 01 2021-Feb 28 2021
    OPERATING ACCOUNT                                                 Cust Ref #:                       3018-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         3018
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                   2,257,399.96                             Average Collected Balance      2,183,057.41
Other Credits                             418.67                             Interest Earned This Period          418.67
                                                                             Interest Paid Year-to-Date           900.36
Electronic Payments                   135,468.20                             Annual Percentage Yield Earned       0.25%
Ending Balance                      2,122,350.43                             Days in Period                           28




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/26               INTEREST PAID                                                                                        418.67
                                                                                               Subtotal:                 418.67
Electronic Payments
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/10               eTransfer Debit, Online Xfer                                                                     53,487.20
                      Transfer to CK         4123
02/16               eTransfer Debit, Online Xfer                                                                     81,981.00
                      Transfer to CK         4123

                                                                                               Subtotal:            135,468.20


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
01/31                               2,257,399.96                             02/16                                2,121,931.76
02/10                               2,203,912.76                             02/26                                2,122,350.43




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 41 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,122,350.43
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                         Desc
                                       Main Document     Page 42 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Mar 01 2021-Mar 31 2021
    OPERATING ACCOUNT                                                 Cust Ref #:                       3018-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         3018
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                   2,122,350.43                             Average Collected Balance      2,122,294.31
Other Credits                             360.50                             Interest Earned This Period          360.50
                                                                             Interest Paid Year-to-Date         1,260.86
Electronic Payments                       700.00                             Annual Percentage Yield Earned       0.20%
Ending Balance                      2,122,010.93                             Days in Period                           31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/31               INTEREST PAID                                                                                        360.50
                                                                                               Subtotal:                 360.50
Electronic Payments
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/29               eTransfer Debit, Online Xfer                                                                         700.00
                      Transfer to CK         4123

                                                                                               Subtotal:                 700.00


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
02/28                               2,122,350.43                             03/31                                2,122,010.93
03/29                               2,121,650.43




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 43 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,122,010.93
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                               Main Document     Page 44 of 67

                                               E     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jan 01 2021-Jan 31 2021
   CLASS 1 RESERVE                                   Cust Ref #:                   9869-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance                62,867.18                 Average Collected Balance           62,867.61
Other Credits                        13.35                 Interest Earned This Period             13.35
                                                           Interest Paid Year-to-Date              13.35
Ending Balance                   62,880.53                 Annual Percentage Yield Earned         0.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
01/29            INTEREST PAID                                                                       13.35
                                                                          Subtotal:                  13.35


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
12/31                            62,867.18                 01/29                               62,880.53




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 45 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         62,880.53
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 46 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Feb 01 2021-Feb 28 2021
    CLASS 1 RESERVE                                                   Cust Ref #:                       9869-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9869
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                       62,880.53                            Average Collected Balance               62,880.96
Other Credits                               12.06                            Interest Earned This Period                 12.06
                                                                             Interest Paid Year-to-Date                  25.41
Ending Balance                          62,892.59                            Annual Percentage Yield Earned             0.25%
                                                                             Days in Period                                 28



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/26               INTEREST PAID                                                                                         12.06
                                                                                               Subtotal:                  12.06


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
01/31                                  62,880.53                             02/26                                   62,892.59




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 47 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         62,892.59
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 48 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Mar 01 2021-Mar 31 2021
    CLASS 1 RESERVE                                                   Cust Ref #:                       9869-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9869
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                       62,892.59                            Average Collected Balance               62,892.84
Other Credits                                8.01                            Interest Earned This Period                  8.01
                                                                             Interest Paid Year-to-Date                  33.42
Ending Balance                          62,900.60                            Annual Percentage Yield Earned             0.15%
                                                                             Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/31               INTEREST PAID                                                                                           8.01
                                                                                               Subtotal:                    8.01


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
02/28                                  62,892.59                             03/31                                   62,900.60




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 49 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         62,900.60
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                               Main Document     Page 50 of 67

                                               E     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jan 01 2021-Jan 31 2021
   TAX RESERVE                                       Cust Ref #:                   9893-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                93,139.71                 Average Collected Balance           93,140.34
Other Credits                        19.78                 Interest Earned This Period             19.78
                                                           Interest Paid Year-to-Date              19.78
Ending Balance                   93,159.49                 Annual Percentage Yield Earned         0.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
01/29            INTEREST PAID                                                                       19.78
                                                                          Subtotal:                  19.78


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
12/31                            93,139.71                 01/29                               93,159.49




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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 51 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         93,159.49
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 52 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Feb 01 2021-Feb 28 2021
    TAX RESERVE                                                       Cust Ref #:                       9893-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9893
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                       93,159.49                            Average Collected Balance               93,160.12
Other Credits                               17.87                            Interest Earned This Period                 17.87
                                                                             Interest Paid Year-to-Date                  37.65
Ending Balance                          93,177.36                            Annual Percentage Yield Earned             0.25%
                                                                             Days in Period                                 28



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/26               INTEREST PAID                                                                                         17.87
                                                                                               Subtotal:                  17.87


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
01/31                                  93,159.49                             02/26                                   93,177.36




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 53 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         93,177.36
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 54 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Mar 01 2021-Mar 31 2021
    TAX RESERVE                                                       Cust Ref #:                       9893-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9893
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                       93,177.36                            Average Collected Balance               93,177.74
Other Credits                               11.87                            Interest Earned This Period                 11.87
                                                                             Interest Paid Year-to-Date                  49.52
Ending Balance                          93,189.23                            Annual Percentage Yield Earned             0.15%
                                                                             Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/31               INTEREST PAID                                                                                         11.87
                                                                                               Subtotal:                  11.87


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
02/28                                  93,177.36                             03/31                                   93,189.23




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
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    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 55 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         93,189.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                               Main Document     Page 56 of 67

                                               E     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jan 01 2021-Jan 31 2021
   CLASS 3 RESERVE                                   Cust Ref #:                   4074-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance                 2,822.26                 Average Collected Balance            2,822.27
Other Credits                         0.48                 Interest Earned This Period              0.48
                                                           Interest Paid Year-to-Date               0.48
Ending Balance                    2,822.74                 Annual Percentage Yield Earned         0.20%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
01/29            INTEREST PAID                                                                       0.48
                                                                          Subtotal:                  0.48


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
12/31                            2,822.26                  01/29                                2,822.74




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 57 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,822.74
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 58 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Feb 01 2021-Feb 28 2021
    CLASS 3 RESERVE                                                   Cust Ref #:                       4074-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4074
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                        2,822.74                            Average Collected Balance                 2,822.75
Other Credits                                0.43                            Interest Earned This Period                   0.43
                                                                             Interest Paid Year-to-Date                    0.91
Ending Balance                           2,823.17                            Annual Percentage Yield Earned              0.20%
                                                                             Days in Period                                  28



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/26               INTEREST PAID                                                                                           0.43
                                                                                               Subtotal:                    0.43


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
01/31                                    2,822.74                            02/26                                    2,823.17




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 59 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,823.17
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 60 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Mar 01 2021-Mar 31 2021
    CLASS 3 RESERVE                                                   Cust Ref #:                       4074-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4074
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                        2,823.17                            Average Collected Balance                 2,823.18
Other Credits                                0.48                            Interest Earned This Period                   0.48
                                                                             Interest Paid Year-to-Date                    1.39
Ending Balance                           2,823.65                            Annual Percentage Yield Earned              0.20%
                                                                             Days in Period                                  31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/31               INTEREST PAID                                                                                           0.48
                                                                                               Subtotal:                    0.48


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
02/28                                    2,823.17                            03/31                                    2,823.65




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 61 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,823.65
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26           Desc
                               Main Document     Page 62 of 67

                                               E     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jan 01 2021-Jan 31 2021
   CLASS 4 RESERVE                                   Cust Ref #:                   4058-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance                 2,914.60                 Average Collected Balance            2,914.62
Other Credits                         0.62                 Interest Earned This Period              0.62
                                                           Interest Paid Year-to-Date               0.62
Ending Balance                    2,915.22                 Annual Percentage Yield Earned         0.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
01/29            INTEREST PAID                                                                       0.62
                                                                          Subtotal:                  0.62


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
12/31                            2,914.60                  01/29                                2,915.22




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 63 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,915.22
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 64 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Feb 01 2021-Feb 28 2021
    CLASS 4 RESERVE                                                   Cust Ref #:                       4058-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4058
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                        2,915.22                            Average Collected Balance                 2,915.24
Other Credits                                0.56                            Interest Earned This Period                   0.56
                                                                             Interest Paid Year-to-Date                    1.18
Ending Balance                           2,915.78                            Annual Percentage Yield Earned              0.25%
                                                                             Days in Period                                  28



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
02/26               INTEREST PAID                                                                                           0.56
                                                                                               Subtotal:                    0.56


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
01/31                                    2,915.22                            02/26                                    2,915.78




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                                                                 Desc
                                                          Main Document     Page 65 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,915.78
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB               Doc 649 Filed 05/06/21 Entered 05/06/21 20:59:26                           Desc
                                     Main Document     Page 66 of 67

                                                             E        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Mar 01 2021-Mar 31 2021
    CLASS 4 RESERVE                                                   Cust Ref #:                       4058-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4058
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                 Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


Upcoming Changes Effective April 1, 2021
We are making changes to the way we're managing transaction limits on our non-transactional accounts. All non- transactional
savings and money market accounts are allowed six (6) pre-authorized, automatic, electronic (including computer or mobile
initiated) telephone withdrawals or transfers, payments by check, draft, debit card, or similar order payable to third parties or
made payable to yourself each month. Your account will be charged a $9 fee for the seventh (7th) and each additional
transaction for the remainder of the month. Your account will no longer be converted to a transactional account. For more
information, please refer to the supplement of the Business Deposit Account Agreement or Personal Deposit Account
Agreement, both available at td.com
ACCOUNT SUMMARY
Beginning Balance                        2,915.78                            Average Collected Balance                 2,915.79
Other Credits                                0.37                            Interest Earned This Period                   0.37
                                                                             Interest Paid Year-to-Date                    1.55
Ending Balance                           2,916.15                            Annual Percentage Yield Earned              0.15%
                                                                             Days in Period                                  31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                         AMOUNT
03/31               INTEREST PAID                                                                                           0.37
                                                                                               Subtotal:                    0.37


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
02/28                                    2,915.78                            03/31                                    2,916.15




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                                                          Main Document     Page 67 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           2,916.15
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


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    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
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    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
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    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
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                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
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    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
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